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      AO 245B-CAED (Rev. 02/2018) Sheet 1 - Judgment in a Criminal Case



                                  UNITED STATES DISTRICT COURT
                                                     Eastern District of California
                     UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                v.                                            Case Number: 1:16CR00176-002
                           CHRIS WILEY                                        Defendant's Attorney: W. Scott Quinlan, Appointed

      THE DEFENDANT:
           pleaded guilty to count(s) 1 and 49 of the Indictment.
           pleaded nolo contendere to count(s)      , which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      The defendant is adjudicated guilty of these offenses:
      Title & Section                   Nature of Offense                                                        Offense Ended      Count
                                      Conspiracy to Engage in the Business of Dealing Firearms
       18 U.S.C. §§ 371 and 922(a)(1)
                                      without a License                                                          October 27, 2016   One
       (A)
                                      (Class D Felony)
                                            Distribution of Methamphetamine
       21 U.S.C. § 841(a)(1)                                                                                     February 29, 2016 Forty Nine
                                            (Class A Felony)

             The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      .
           Count(s) 19, 42 and 51 are dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                      Appeal rights waived.

              It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
      residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
      ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
      circumstances.
                                                                              4/15/2019
                                                                              Date of Imposition of Judgment




                                                                              Signature of Judicial Officer
                                                                              Dale A. Drozd, United States District Judge
                                                                              Name & Title of Judicial Officer
                                                                              4/17/2019
                                                                              Date




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      AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
      DEFENDANT: CHRIS WILEY                                                                                                        Page 2 of 7
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                                                                 IMPRISONMENT

      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
      144 months total : Ct 1 = 60 months and Ct 49 = 144 months to run concurrent for a total of 144 months..

            No TSR: Defendant shall cooperate in the collection of DNA.

            The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends that the defendant be incarcerated in a California facility, specifically Lompoc, but only insofar as this
            accords with security classification and space availability. The Court recommends the defendant participate in the 500-Hour
            Bureau of Prisons Substance Abuse Treatment Program.

            The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district
                    at     on     .
                    as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                     before       on    .
                     as notified by the United States Marshal.
                     as notified by the Probation or Pretrial Services Officer.
             If no such institution has been designated, to the United States Marshal for this district.

                                                                       RETURN
      I have executed this judgment as follows:




              Defendant delivered on                                                        to
      at                                                   , with a certified copy of this judgment.



                                                                              United States Marshal


                                                                              By Deputy United States Marshal




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      AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
      DEFENDANT: CHRIS WILEY                                                                                                         Page 3 of 7
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                                                                 SUPERVISED RELEASE
       Upon release from imprisonment, you will be on supervised release for a term of :
       60 months total: for Ct 1 = 36 months and Ct 49 = 60 months to run concurrent for a total of 60 months.

                                                          MANDATORY CONDITIONS
       You must not commit another federal, state or local crime.
       You must not unlawfully possess a controlled substance.
       You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.


            The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
            abuse.

            You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution.

            You must cooperate in the collection of DNA as directed by the probation officer.

            You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense.

            You must participate in an approved program for domestic violence.

       You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
       attached page.




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      AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
      DEFENDANT: CHRIS WILEY                                                                                                         Page 4 of 7
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                                              STANDARD CONDITIONS OF SUPERVISION
      As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
      imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
      by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

       1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
               release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
               different time frame.
       2.      After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
               how and when you must report to the probation officer, and you must report to the probation officer as instructed.
       3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
               from the Court or the probation officer.
       4.      You must answer truthfully the questions asked by the probation officer.
       5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
               living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
               change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
               probation officer within 72 hours of becoming aware of a change or expected change.
       6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
               officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
       7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
               you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
               officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
               or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
               probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
               officer within 72 hours of becoming aware of a change or expected change.
       8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
               been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
               permission of the probation officer.
       9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
       10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
               that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
               nunchakus or tasers).
       11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
               without first getting the permission of the Court.
       12.     If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
               may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
               contact the person and confirm that you have notified the person about the risk.
       13.     You must follow the instructions of the probation officer related to the conditions of supervision.
                                                           U.S. Probation Office Use Only
      A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
      judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
      Release Conditions, available at: www.uscourts.gov.

      Defendant's Signature _____________________________ Date _________________




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      AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
      DEFENDANT: CHRIS WILEY                                                                                                             Page 5 of 7
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                                                SPECIAL CONDITIONS OF SUPERVISION
       1.      As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
               assistance for drug or alcohol abuse.
       2.      As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
               etc.) to determine if he has reverted to the use of drugs or alcohol.
       3.      As directed by the probation officer, the defendant shall participate in a program of outpatient mental health treatment.
       4.      As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
               make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
       5.      The defendant shall submit to the search of his person, property, house, residence, vehicle, papers, computer, other electronic
               communication or data storage devices or media, and effects at any time, with or without a warrant, by any law enforcement
               or probation officer in the lawful discharge of the officer’s supervision functions with reasonable suspicion concerning
               unlawful conduct or a violation of a condition of probation or supervised release. Failure to submit to a search may be
               grounds for revocation. The defendant shall warn any other residents that the premises may be subject to searches pursuant to
               this condition.
       6.      The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.
       7.      The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer.
       8.      The defendant shall not associate with any known gang member of the Strother Boys street gang or any other known member
               of a criminal street gang, as directed by the probation officer, with the exception of your father and your brother, Dejohn
               Wiley.




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      AO 245B-CAED (Rev. 02/2018) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT: CHRIS WILEY                                                                                                            Page 6 of 7
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                                                    CRIMINAL MONETARY PENALTIES

              The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                                    Assessment                          Fine             Restitution
               TOTALS                                                $200.00
            The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.


            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

            Restitution amount ordered pursuant to plea agreement $

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
            subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                   The interest requirement is waived for the                fine         restitution

                   The interest requirement for the               fine         restitution is modified as follows:


            If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
            through the Bureau of Prisons Inmate Financial Responsibility Program.

            If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
            shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
      *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.




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      AO 245B-CAED (Rev. 02/2018) Sheet 6 - Schedule of Payments
      DEFENDANT: CHRIS WILEY                                                                                                             Page 7 of 7
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                                                            SCHEDULE OF PAYMENTS
              Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

       A.              Lump sum payment of $ 200.00 due immediately, balance due
                                Not later than      , or
                                in accordance              C,      D,        E,or            F below; or
       B.              Payment to begin immediately (may be combined with               C,           D,     or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of       (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                       from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                       that time; or

       F.              Special instructions regarding the payment of criminal monetary penalties:

       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate:

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
               Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
       costs.




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